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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Case No. 18-cv-01710-KMT

ROGER HILL,

        Plaintiff,
v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO

        Defendants.


     REPLY TO MOTION TO CERTIFY QUESTION OF THE NATURE OF THE STATE
      OF COLORADO’S TITLE IN NAVIGABLE RIVERBEDS TO THE COLORADO
        SUPREME COURT PURSUANT TO COLO. APP. R. 21.1(a) [ECF DOC. 43]


        In their responses, ECF Docs. 44 and 45, Defendants attempt to cloud the fundamental

issues underpinning this motion. To be clear, (1) the Colorado Supreme Court has never

confronted the nature of the public’s right to access and use navigable rivers in Colorado and (2)

several of Defendants’ arguments in their motions to dismiss, including their standing arguments,

rely on Plaintiff having no right to access or use state-owned navigable riverbeds. See, e.g., ECF

Docs. 21 at 6-15, 27 at 6-7, 41 at 4-6, 42 at 3-5 (Defendants arguing Plaintiff has no legally

protecting interest in a finding of navigability because that finding would not permit him access to

the river). That makes this both an issue of first impression and dispositive, 1 the two requirements

for certification to the Colorado Supreme Court under Colo. App. R. 21.1(a).


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  Defendants point out that Plaintiff does not believe that the proposed certified question is
dispositive. That is right. He believes the Court should remand for lack of jurisdiction without
reaching the question, ECF Doc. 28, and that, even without remand, the Court does not need to
reach the question to find standing, ECF Doc. 35 at 7 (legally protected interest does not require
reaching the question of the public’s right in navigable riverbeds). But Defendants insist that


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        As an initial matter, the ridiculous outcome Defendants propose bears articulating.

Defendants rightly appear to concede that the State of Colorado took title to all navigable riverbeds

within its borders at statehood. That, after all, is a well-established Federal Constitutional principle.

See PPl Montana, LLC v. Montana, 565 U.S. at 589-93 (2012). Instead, Defendants seem to argue

that it is “settled” in Colorado that the public has no right to use these state-owned riverbeds. See

ECF Doc. 44 at 5. That odd outcome is expressed nowhere in Colorado law.

        The Court should not be duped by Defendants’ journey through the Colorado Constitution

and statutes in an attempt to exclude the possibility of this public right in state-owned navigable

riverbeds. See ECF Doc. 44 at 5-9. The lack of a state constitutional provision or statue on point

is hardly dispositive of the question. While some states may have codified the nature of a state’s

title in navigable riverbeds, most have simply applied the common law. See ECF Doc. 35 n. 5

(listing state cases). The Colorado Supreme Court could, and Plaintiff would argue should, do the

same here. Regardless, these are all arguments best left to the Colorado Supreme Court after

certification.

        Further, Defendants attempt to confuse the issue by citing to Colorado cases considering

public access to non-navigable rivers and framing the issue as whether the public has unfettered

rights in all rivers and streams. See, e.g., ECF Doc. 44 at 5-9 (citing People v. Emmert, 597 P.2d

1025, 1028 (Colo. 1979)). But this case is about navigable rivers, not all rivers. And, as Plaintiff

pointed out in his Motion, the same Colorado Supreme Court case relied on by Defendants took

great pains to state that the riverbed at issue was non-navigable before finding no public access:




remand is inappropriate and that standing relies on the proposed certified question, i.e., the nature
of the state’s title in navigable riverbeds. Plaintiff is therefore arguing for certification in the
alternative, if the Court disagrees with him on remand and the need to reach the issue to find
standing. Plaintiff was clear about this in his Motion. ECF Doc. 43 at 1-2.


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       The validity of the conviction depends upon our determination of the following
       question: Did the defendants have a right under section 5 of Article XVI of the
       Constitution of Colorado to float and fish on a non-navigable natural stream….

Emmert, 597 P. 2d at 1026 (emphasis added). This careful carveout of navigable rivers must have

meaning. And it should be left to the Colorado Supreme Court to articulate that meaning.

       Finally, the Individual Defendants attempt a new form of same unconstitutional argument

that all Defendants raised for the first time in reply to their motions to dismiss, i.e., that the Court

should skip the jurisdictional question, move immediately to their non-jurisdictional prudential

standing argument, and dismiss without certifying the question. See ECF Doc. 45 at 1-2; see also

ECF Doc. 41 at 1-4, 42 at 6-8 (replies arguing that the Court should skip jurisdictional questions

and dismiss on the merits).2 It is simply fundamental that federal courts cannot exercise the power

to make decisions on the merits if they do not have the power to do so, i.e., if they do not have

jurisdiction. The Supreme Court has been abundantly clear about this. See Steel Co. v. Citizens for

Better Environment, 523 U. S. 83, 94-102 (1998) (“The requirement that jurisdiction be established

as a threshold matter is inflexible and without exception….” (quotations omitted)); see also

Ruhrgas Ag v. Marathon Oil Co., 526 US 574, 584-85 (1999) (questions of subject matter

jurisdiction and personal jurisdiction must precede merits consideration); Cunningham v. BHP

Petroleum Great Britain PLC, 427 F. 3d 1238, 1245 (10th Cir. 2005)(“[B]ecause the district court

never had jurisdiction over the case, it had no power to rule on any substantive motions or to enter

judgment in the case.”). If the certified question is required to determine the Court has subject

matter jurisdiction, then that question must be answered before the non-jurisdictional question of




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  Plaintiff again reiterates that he did not plead, nor argue for, third-party standing. ECF Doc. 35
at 16 (“Plaintiff does not assert third-party standing….”). Defendants have conjured this argument
to argue against. Plaintiff asserts standing based on his own individualized harm. Id. at 9-16.


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prudential third-party standing. See Wilderness Soc. v. Kane Cnty., Utah, 632 F.3d 1162, 1168 n.

1 (10th Cir.2011) (“prudential standing is not a jurisdictional limitation.”).

                                       I. CONCLUSION

       For the foregoing reasons, Plaintiff’s Motion should be granted.

                                               Respectfully submitted,

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                                     Certificate of Service

        I hereby certify that on October 23, 2018 I served a true and correct copy of the forgoing
on all parties that have appeared pursuant to Fed. R. Civ. P. 5.

                                                    s/Alexander Hood__
                                                    Alexander Hood




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